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FOIA Summons
1/13

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIE M. ARYL. Ad

MARK ZAID }
Plaintiff )
)
v. ) Civil Action No. 21-1130
DEPARTMENT OF JUSTICE !
Defendant )
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Bradley P. Moss, Esq.

Mark S. Zaid, P.C.

41250 Connecticut Avenue, NW
Suite 700

Washington, D.C. 20036

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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Civil Action No. 21-1130

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

© i personally served the summons on the individual at (place)

on (date) 5 or

, a person of suitable age and discretion who resides there
on (date) , and mailed a copy to the individual’s last known address; or
1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) or
[7 [returned the summons unexecuted because or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server ’s address

Additional information regarding attempted service, e

ot
Q
